Case 7:16-or-OO716 Dooument 1 Filed on 05/09/16 in TXSD Page 1 of 2

 

AO 91 (Rev. l l/l l) Criminal Complaint llan metz g;:§d®¢ egan
UNITED STATES DISTRICT CoURT F“E°

for the MA¥ 09 2018

Southern District of Texas

¢¢|thdcom

 

 

United States of America )
v. )
Case No.
Jose Manue| ALAN|Z )
U_S_C_ ) M-16-*@@ @S’l\/\
(YoB: 1987) §
)
Defendant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of N|ay 6, 2016 in the county of Zapata in the
Southern District of Texas , the defendant(s) violated:
Coa’e Sectl`on O]j[ense Descrl'ptian
21 USC 841 (a) (1) Knowing|y and intentionally possess with intent to distribute approximately

56.20 kilograms of cocaine HCL, a schedule || controlled substance

This criminal complaint is based on these facts:

On |V|ay 6, 2016, Drug Enforcement Administration (DEA) agents and Texas Department of Pub|ic Safety (DPS) agents
conducted surveillance ata residence located at 105 |||inois Street, Zapata, TX that was suspected to be used as a
narcotics stash house. At approximately 5:00 p.m., agents approached the residence and were greeted by (continued

on Attachment |)

CWgnature

Ash|ey Braze|ton, DEA Special Agent

Printea' name and title

d Continued on the attached sheet.

Sworn to before me and signed in my presence.

adea §§W #@@My

Judge ’s signature

City and State; /)\/\C,(L,Q,Qa.,\/\ , /[Zka§ Dorina Ramos, U.S. Nlagistrate Judge

Prz'nted name and title

Case 7:16-cr-OO716 Document 1 Filed on 05/09/16 in TXSD Page 2 of 2

Attachment l

a male subject who identified himself as Jose l\/lanuel ALANlZ who stated he was the
renter of the property. DEA and DPS agents identified themselves as law enforcement
officers to ALANlZ. ALANlZ stated that there was no criminal activity occurring at his
property and was unaware of any previous criminal activity, at which point he gave
agents both verbal and written consent

During the course of the search, agents found packaging materials inside the residence
as well as in a garbage bin. These packaging materials, plastic wrap and tire wheel
grease are materials consistently used by narcotics traffickers for concealing narcotics
to evade canine detection Shortly after, agents discovered a large piece of luggage
located in the brush beyond the property’s rear fence line. The luggage contained fifty
(50) brick shaped bundles wrapped in black and clear plastic consistent with the manner
in Which narcotics are concealed ALANlZ was subsequently placed under arrest.

DEA agents read ALANlZ his |V|iranda Rights in his preferred language of English.
ALANlZ acknowledged his Rights and agreed to speak with the agents. ALANlZ told
agents he was paid $1,000.00 to utilize his property to house narcotics ALANlZ claimed
ownership of the narcotics that were in the luggage behind the property. ALANlZ also
stated that prior to the arrival of law enforcement, an unknown male subject appeared at
the residence, took the luggage containing the narcotics from the house, and placed lt in
the brush behind the property to conceal the narcotics

